  Case 3:14-cv-03013-D Document 87 Filed 02/06/19            Page 1 of 59 PageID 7454


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

THE INCLUSIVE COMMUNITIES                  §
PROJECT, INC.,                             §
                                           §
                            Plaintiff,     §
                                           § Civil Action No. 3:14-CV-3013-D
VS.                                        §
                                           §
THE UNITED STATES                          §
DEPARTMENT OF TREASURY,                    §
et al.,                                    §
                                           §
                            Defendants.    §

                              MEMORANDUM OPINION
                                  AND ORDER

       Plaintiff The Inclusive Communities Project, Inc. (“ICP”) brings this action against

defendants U.S. Department of the Treasury (“Treasury”) and Office of the Comptroller of

the Currency (“OCC”), alleging claims under 42 U.S.C. § 3608(d), 42 U.S.C. § 3604(a), 42

U.S.C. § 1982, and the Fifth Amendment, essentially contending that defendants’

administration of the Low Income Housing Tax Credit (“LIHTC”) program created under

the Tax Reform Act of 1986 is perpetuating racial segregation in LIHTC units in the city of

Dallas and relegating minority families to unequal conditions of slum, blight, and distress.

Treasury and OCC move for summary judgment on all claims, and ICP moves for partial

summary judgment on the issue of standing and on its 42 U.S.C. § 3608(d) claim. For the

reasons explained, the court grants defendants’ motion as to ICP’s claims against OCC based

on a lack of standing, grants defendants’ motion on the merits as to ICP’s claims against

Treasury, and denies ICP’s motion for partial summary judgment. The court enters final
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 2 of 59 PageID 7455


judgment in favor of defendants by separate judgment filed today.

                                                I

       The Tax Reform Act of 1986 established the LIHTC program to provide tax credit

subsidies for the development and ownership of affordable rental housing. See 26 U.S.C. §

42.1 Generally, the statute offers tax credits as incentives to developers who construct or

rehabilitate “qualified low-income housing project[s].” 26 U.S.C. § 42(g)(1). To qualify for

a tax credit under the statute, a project sponsor must commit to restricting rents on at least

40% of the affordable housing units for renters earning no more than 60% of the area’s

median income, or at least 20% of the units for renters earning 50% or less of the area’s

median income.

       Each year, Congress allocates a certain amount of LIHTCs to the states based on

population. State or local housing credit agencies (“HCAs”)2 have the exclusive authority

to allocate these LIHTCs. Under 26 U.S.C. § 42(m), each HCA is required to develop a

qualified allocation plan (“QAP”) that sets out the state’s priorities and selection criteria for




       1
         Because both sides move for summary judgment, the court will recount the evidence
that is undisputed, and, when it is necessary to set out evidence that is contested, will do so
favorably to the side who is the summary judgment nonmovant in the context of that
evidence. See, e.g., GoForIt Entm’t, LLC v. DigiMedia.com L.P., 750 F.Supp.2d 712, 718
n.4 (N.D. Tex. 2010) (Fitzwater, C.J.) (quoting AMX Corp. v. Pilote Films, 2007 WL
1695120, at *1 n.2 (N.D. Tex. June 5, 2007) (Fitzwater, J.)).
       2
        Defendants refer to HCAs—i.e., Housing Credit Agencies, which is the term the
statute uses, and ICP refers to HFAs—i.e., Housing Finance Agencies. It appears that both
sides are using slightly different terms to refer to the same agencies.

                                              -2-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 3 of 59 PageID 7456


allocating LIHTCs among project sponsors’ proposed projects.3

       Treasury is the federal department charged with administering and regulating the

LIHTC program. See 26 U.S.C. § 42(n) (“The Secretary [of the Treasury] shall prescribe

such regulations as may be necessary or appropriate to carry out the purposes of this

section.”). OCC is an independent bureau of Treasury that is responsible for approving

national banks’ investments in LIHTC projects under the public welfare investment (“PWI”)

authority established in 12 U.S.C. § 24 (Eleventh).4

       ICP is a nonprofit organization that seeks racial and socioeconomic integration in the

Dallas metropolitan area. In particular, ICP assists low-income, predominantly African

American families who are eligible for the Dallas Housing Authority’s Section 8 Housing

Choice Voucher program in finding affordable housing in predominately non-minority


       3
        Under the statute, each QAP must give preference to projects that serve the lowest
income tenants; serve income-eligible residents for the longest time-frame; and are located
in qualified census tracts (defined as tracts with a poverty rate of at least 25%, or tracts in
which 50% of the households have incomes below 60% of the area median income) and will
contribute to a concerted community revitalization plan. See 26 U.S.C. § 42(m)(1)(B). Each
QAP must also include selection criteria concerning project location; housing needs
characteristics; project characteristics, including whether the project includes the use of
existing housing as part of a community revitalization plan; sponsor characteristics; tenant
populations with special housing needs; public housing waiting lists; tenant populations of
individuals with children; projects intended for eventual tenant ownership; the energy
efficiency of the project; and the historical nature of the project. Id at § 42(m)(1)(C).
       4
        Under 12 U.S.C. § 24 (Eleventh), national banks are authorized to “make investments
directly or indirectly, each of which is designed primarily to promote the public welfare,
including the welfare of low- and moderate-income communities or families (such as by
providing housing, services, or jobs),” so long as such investments do not “expose the
association to unlimited liability.” Under OCC regulations, projects that qualify for LIHTCs
are acceptable PWIs.

                                             -3-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19             Page 4 of 59 PageID 7457


concentrated areas free from the adverse effects of slum, blight, and distress.

       ICP was the plaintiff in a lawsuit that sought relief from the Texas Department of

Housing and Community Affairs (“TDHCA”) for allegedly disproportionately allocating

LIHTCs to developers proposing LIHTC units in non-Caucasian areas, thus perpetuating

racial segregation in the location of LIHTC units in the Dallas Area. See, e.g., Inclusive

Cmtys. Project, Inc. v. Tex. Dep’t of Hous. & Cmty. Affairs, 860 F.Supp.2d 312 (N.D. Tex.

2012) (Fitzwater, C.J.), rev’d, 747 F.3d 275 (5th Cir. 2014), aff’d and remanded, ___ U.S.

___, 135 S.Ct. 2507 (2015). That lawsuit was comprehensively litigated and has been

dismissed. See Inclusive Cmtys. Project, Inc. v. Tex. Dep’t of Hous. & Cmty. Affairs, 2016

WL 4494322, at *1 (N.D. Tex. Aug. 26, 2016) (Fitzwater, J.).

       In the instant lawsuit, ICP sues Treasury and OCC based on the same allegedly

disproportionate allocation of LIHTCs in the city of Dallas, seeking to hold Treasury and

OCC liable for their roles in “knowingly, consistently, and repeatedly allow[ing] and

approv[ing] investments in LIHTC units that perpetuate racial segregation and unequal

conditions.” Am. Compl. ¶ 1. ICP asserts that defendants’ actions in regulating the LIHTC

program and approving national bank investments in LIHTC units located in racially

segregated minority areas violate 42 U.S.C. § 3608(d), 42 U.S.C. § 3604(a), 42 U.S.C. §

1982, and the equal protection component of the Fifth Amendment.

       Defendants move for summary judgment on all of ICP’s claims. ICP moves for

partial summary judgment on the issue of standing and on its 42 U.S.C. § 3608(d) claim. The

court has heard oral argument.

                                            -4-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 5 of 59 PageID 7458


                                               II

       When a summary judgment movant will not have the burden of proof on a claim, it

can obtain summary judgment by pointing the court to the absence of evidence on any

essential element of the nonmovant’s claim. See Celotex Corp. v. Catrett, 477 U.S. 317, 325

(1986). Once it does so, the nonmovant must go beyond its pleadings and designate specific

facts demonstrating that there is a genuine issue for trial. See id. at 324; Little v. Liquid Air

Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per curiam). An issue is genuine if the

evidence is such that a reasonable trier of fact could return a verdict for the nonmovant.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The nonmovant’s failure to

produce proof as to any essential element renders all other facts immaterial. See TruGreen

Landcare, L.L.C. v. Scott, 512 F.Supp.2d 613, 623 (N.D. Tex. 2007) (Fitzwater, J.).

Summary judgment is mandatory where the nonmovant fails to meet this burden. Little, 37

F.3d at 1076.

       To be entitled to summary judgment on a claim on which the moving party will have

the burden of proof, the party “must establish ‘beyond peradventure all of the essential

elements of the claim[.]’” Bank One, Tex., N.A. v. Prudential Ins. Co. of Am., 878 F. Supp.

943, 962 (N.D. Tex. 1995) (Fitzwater, J.) (quoting Fontenot v. Upjohn Co., 780 F.2d 1190,

1194 (5th Cir. 1986)). This means that the moving party must demonstrate that there are no

genuine and material fact disputes and that it is entitled to summary judgment as a matter of

law. See Martin v. Alamo Cmty. Coll. Dist., 353 F.3d 409, 412 (5th Cir. 2003). “The court

has noted that the ‘beyond peradventure’ standard is ‘heavy.’” Carolina Cas. Ins. Co. v.

                                              -5-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 6 of 59 PageID 7459


Sowell, 603 F.Supp.2d 914, 923-24 (N.D. Tex. 2009) (Fitzwater, C.J.) (quoting Cont’l Cas.

Co. v. St. Paul Fire & Marine Ins. Co., 2007 WL 2403656, at *10 (N.D. Tex. Aug. 23, 2007)

(Fitzwater, J.)).

                                               III

       The court begins by addressing both sides’ motions on the issue of standing.

                                               A

       “Federal courts are courts of limited jurisdiction, and absent jurisdiction conferred by

statute, lack the power to adjudicate claims.” Stockman v. Fed. Election Comm’n, 138 F.3d

144, 151 (5th Cir. 1998). It is well settled that “the issue of standing is one of subject matter

jurisdiction.” Cobb v. Cent. States, 461 F.3d 632, 635 (5th Cir. 2006). The doctrine of

standing addresses the question of who may properly bring suit in federal court, and “is an

essential and unchanging part of the case-or-controversy requirement of Article III.” Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (“Defenders of Wildlife”). It “involves

both constitutional limitations on federal-court jurisdiction and prudential limitations on its

exercise.” Warth v. Seldin, 422 U.S. 490, 498 (1975). To establish standing, a plaintiff must

meet both constitutional and prudential requirements. See, e.g., Procter & Gamble Co. v.

Amway Corp., 242 F.3d 539, 560 (5th Cir. 2001). The only issue in this case is constitutional

standing, which requires that a litigant establish three elements: (1) injury-in-fact that is

concrete and actual or imminent, not hypothetical; (2) a fairly traceable causal link between

the injury and the defendant’s actions; and (3) a likelihood that the injury will likely be

redressed by a favorable decision. E.g., Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir.

                                              -6-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 7 of 59 PageID 7460


2009). To obtain injunctive relief, a plaintiff must be “likely to suffer future injury.” City

of L.A. v. Lyons, 461 U.S. 95, 105 (1983). “Past exposure to illegal conduct does not in itself

show a present case or controversy regarding injunctive relief[.]” O’Shea v. Littleton, 414

U.S. 488, 495 (1974). The threat of future injury to the plaintiff “must be both real and

immediate, not conjectural or hypothetical.” Lyons, 461 U.S. at 102 (quotation marks

omitted).

       At the summary judgment stage, “each element [of standing] must be supported in the

same way as any other matter on which the plaintiff bears the burden of proof, i.e., with the

manner and degree of evidence required at the successive stages of the litigation.” Defenders

of Wildlife, 504 U.S. at 561; see also Cadle Co. v. Neubauer, 562 F.3d 369, 371 (5th Cir.

2009) (“[B]ut when [standing is] challenged by a motion for summary judgment, . . .

evidence is required, including affidavits and other facts. If such evidence is presented,

whether controverted or not, it is accepted as true and survives summary judgment; if the

evidence is controverted, standing must be supported adequately by the evidence adduced

at trial.” (internal quotation marks omitted) (quoting Defenders of Wildlife, 504 U.S. at 561)).

Accordingly, to survive defendants’ motion for summary judgment on the issue of standing,

ICP must present evidence that creates a genuine issue of material fact. See Croft v.

Governor of Tex., 562 F.3d 735, 746 (5th Cir. 2009) (“At this stage of litigation—summary

judgment—the plaintiffs’ burden on standing is only to raise an issue of material fact.”). And

for ICP to establish its entitlement to partial summary judgment on the issue of standing—i.e,

that it has standing—it must demonstrate beyond peradventure that it satisfies all three

                                             -7-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 8 of 59 PageID 7461


essential elements of constitutional standing.

                                               B

                                               1

       Defendants move for summary judgment on the ground that ICP has failed to

demonstrate the injury-in-fact element of constitutional standing. They maintain that ICP has

failed to substantiate its claim that the injury it will suffer in the future—i.e., the economic

injury arising from the increase in ICP resources needed to assist its clients to obtain

affordable units in non-minority concentrated areas—is both real and immediate and not

conjectural or hypothetical. This is so, according to defendants, because ICP’s claim of

future injury depends on the speculative assertions that many private landlords in non-

minority areas will continue to refuse to accept vouchers, that project developers will

continue to decline to propose affordable housing projects in non-minority parts of Dallas,

and that the TDHCA would, if presented with proposed affordable housing projects in those

areas, decline to allocate LIHTCs to those suburban projects.

                                               2

       The court holds that ICP has adduced sufficient evidence to create a genuine issue of

material fact on the element of injury. In ICP’s motion for partial summary judgment, which

it incorporates into its response to defendants’ summary judgment motion, ICP maintains that

the concentration of LIHTC units in minority-concentrated census tracts causes it to suffer

an economic injury because ICP must spend more money and time to locate available non-

LIHTC units in non-minority concentrated census tracts for its clients. According to ICP,

                                             -8-
  Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 9 of 59 PageID 7462


only LIHTC landlords are prohibited by law from refusing to rent to voucher holders5;

because non-LIHTC landlords are not prohibited from refusing to rent to voucher households

and may either decline to rent or require the payment of higher security deposits or landlord

incentive payments as a condition of renting to ICP’s voucher client, the money and time it

takes to locate and place ICP’s clients in non-LIHTC units is substantially greater than the

financial assistance that would be required to place them in LIHTC units; ICP’s goal is to

place its clients in housing units located in non-segregated areas; and the unavailability of

LIHTC units in non-minority concentrated census tracts therefore increases ICP’s operating

costs. ICP adduces evidence, which defendants do not dispute, that for every additional

LIHTC unit made available to ICP’s clients, ICP would save between $350 and $950 per

client move based on the difference in financial assistance paid to obtain LIHTC units for the

client compared to the financial assistance paid to obtain non-LIHTC units for clients during

that period. Accordingly, for every 100 additional LIHTC units made available to ICP’s

clients per year, ICP would save between $35,000 and $95,000.

       Because ICP is seeking injunctive relief, it must establish that it is “likely to suffer

future injury.” Lyons, 461 U.S. at 105. Courts “have generally permitted future events

which are sufficiently likely to occur to serve as a basis for standing when the plaintiffs, as

here, are seeking injunctive relief.” K.P. v. LeBlanc, 627 F.3d 115, 122 (5th Cir. 2010). ICP



       5
        This means that if a LIHTC project has a vacancy or waiting list, the landlord cannot
refuse to consider the ICP client as a tenant simply because the client wants to use a housing
voucher.

                                             -9-
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 10 of 59 PageID 7463


has adduced sufficient evidence to permit the reasonable conclusion that the economic injury

it has suffered in the past is sufficiently likely to continue to occur in the future. For

example, ICP points to evidence that landlords in Caucasian6 areas continue to refuse to rent

to voucher families rather than accept vouchers; that from 2009 through 2017, TDHCA

refused to approve LIHTC allocations for six of the nine applications for LIHTC units in

Caucasian census tracts in the city of Dallas; and that from 2009 to 2017, the application

approval rate for units in Caucasian areas was substantially less than the approval rate for

units in minority areas. It also adduces evidence that TDHCA continues to implement local

veto selection criteria that disproportionately deny LIHTCs to units in predominantly

Caucasian census tracts, and that the gap between the allocation rates for LIHTC units to be

in Caucasian areas and those in minority areas increased substantially after 2014, when the

local veto selection criteria became effective. The court holds that a reasonable trier of fact

could find, based on this evidence, that it is sufficiently likely that the increased expenses

ICP is forced to incur due to the unavailability of LIHTC housing in non-segregated areas

are likely to continue into the future. Accordingly, the court denies defendants’ motion for

summary judgment insofar as addressed to the injury-in-fact element of constitutional

standing.




       6
        Throughout this memorandum opinion and order, the court uses the term “Caucasian”
to refer to the 2000 U.S. Census category for white persons who are neither Hispanic nor
Latino.

                                            - 10 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                  Page 11 of 59 PageID 7464


                                                 3

       The court also denies ICP’s motion for partial summary judgment insofar as addressed

to the injury-in-fact element of standing. In ICP’s motion, it focuses on the present economic

injury it has experienced as a result of the concentration of LIHTC units in minority

concentrated census tracts, but it neither argues nor establishes beyond peradventure that this

injury is likely to occur in the future. Accordingly, ICP is not entitled to summary judgment

on this element of constitutional standing.

                                                 C

       The court next considers whether ICP has demonstrated that its injury is traceable to

either defendant.

                                                 1

       “[T]here must be a causal connection between the injury and the conduct complained

of—the injury has to be fairly traceable to the challenged action of the defendant, and not the

result of the independent action of some third party not before the court.” Defenders of

Wildlife, 504 U.S. at 560 (alterations incorporated). In a suit such as this one, where the

plaintiff challenges the legality of government action or inaction, the showing necessary to

establish standing “depends considerably upon whether the plaintiff is himself an object of

the action (or forgone action) at issue.” Id. at 561. “If he is, there is ordinarily little question

that the action or inaction has caused him injury, and that a judgment preventing or requiring

the action will redress it.” Id. at 561-62. But when, as here, the plaintiff’s asserted injury

“arises from the government’s allegedly unlawful regulation (or lack of regulation) of

                                              - 11 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 12 of 59 PageID 7465


someone else . . . causation and redressability ordinarily hinge on the response of the

regulated (or regulable) third party to the government action or inaction—and perhaps on the

response of others as well.” Id. at 562. “Thus, when the plaintiff is not himself the object

of the government action or inaction he challenges, standing is not precluded, but it is

ordinarily ‘substantially more difficult’ to establish.” Id. (quoting Allen v. Wright, 468 U.S.

737, 758 (1984); Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 44-45 (1976); Warth, 422

U.S. at 505).

                                               2

       Defendants contend that ICP has failed to establish that its injuries are fairly traceable

to Treasury or OCC. They maintain that ICP alleges an economic injury due to increased

costs, not because of the actions of Treasury or OCC, but because many of the private market

landlords in non-minority areas refuse to accept vouchers, which reduces the supply of

available units for voucher families; that ICP also alleges that its economic injury arises

because LIHTC units are disproportionately located in predominantly minority areas, but has

failed to produce any credible evidence that its increased costs are caused by Treasury or

OCC and not by the actions of third parties, such as project sponsors, state or local

governments, or the TDHCA; that this court previously found in Inclusive Communities

Project, Inc., 2016 WL 4494322, at *9, that no affordable housing project sponsors applied

for LIHTCs in predominantly non-minority areas in Dallas since 1995 and that TDHCA did

not deny any such application to locate a LIHTC project in a predominantly non-minority

area during this same time frame; that ICP has admitted that state agencies and local

                                             - 12 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                  Page 13 of 59 PageID 7466


governments are the entities that approve, accept, or reject proposed affordable housing

projects seeking LIHTCs and could not identify any discrete harm attributable to Treasury

or OCC; and that, contrary to ICP’s contention, the acts of third parties such as private

landlords, project sponsors, and state and local government entities are the source of ICP’s

alleged injuries, and ICP offers no evidence that would substantiate its claim that Treasury

and OCC are liable for its injuries.

       ICP responds that OCC controls whether a national bank can purchase and own a

LIHTC project that is located in a racially segregated area with unequal living conditions;

that there are 57 national bank-owned LIHTC units with 9,782 units that are located in

minority census tracts in Dallas; that these units constitute 57% of the total LIHTC units that

were approved for locations in minority census tracts from 1995 through 2017; that OCC

disapproval of a proposed national bank ownership in a LIHTC project would deprive the

bank of the opportunity for ownership; that the OCC approval process currently accounts for

85% of the LIHTC investments in the nation7; that the coercive effect of prospective OCC

review of such proposals pursuant to affirmatively furthering fair housing is reasonably likely

to have made an appreciable difference in providing racially integrated LIHTC housing

opportunities in Dallas; and that even a small increase in the percent of units in Caucasian

areas would have made an appreciable difference in providing racially integrated LIHTC



       7
        At oral argument, ICP’s counsel clarified that ICP’s evidence showed that “85
percent of the investments in equity for tax credits, for either tax credits or tax credit projects,
in 2012, was made by banks or bank-related investments.” Tr. Oral Arg. 35.

                                              - 13 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                 Page 14 of 59 PageID 7467


housing in Dallas for ICP and its clients. Regarding Treasury, ICP contends that the absence

of a regulation allows conduct that otherwise would not occur and is a cause of the conduct;

that state housing finance agencies —HFAs8—generally comply with Treasury’s regulations

governing their conduct; and that a Treasury regulation prohibiting the local veto selection

criteria would exert a coercive effect in preventing or removing such criteria from HFA

QAPs. In ICP’s motion for partial summary judgment, it maintains that “[f]ederal agencies

providing funding for and regulating discriminatory actions by state and local entities are a

cause of that discrimination,” Ps. 4/12/18 Br. 65; that the nature of the federal violation (i.e.,

funding, regulating, and approving) contradicts any argument that there can be only a single

cause of state or local racial segregation; and that if ICP is injured by the existing distribution

of low-income housing, and defendants’ actions directly and significantly affect that

distribution, it follows that ICP has established causation.

       Defendants reply that ICP’s theory of traceability relies on the same type of causal

chain that attempts to connect the alleged failure to regulate the third-party conduct that

actually injures ICP, which the Supreme Court rejected in Allen, 468 U.S. 737; that ICP fails

to address defendants’ showing that Treasury cannot, in fact, override the congressionally-

designed LIHTC scheme in 26 U.S.C. § 42 to prevent the alleged injury that the TDHCA is

causing ICP; that ICP’s argument that TDHCA has denied LIHTC allocations based on the

use of the “discriminatory local veto provisions” (which have nothing to do with OCC or the



       8
        See supra note 2.

                                              - 14 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 15 of 59 PageID 7468


availability of project investors) undercuts its traceability theory with respect to OCC; and

that ICP fails to address defendants’ showings that:

               (i) Congress has not empowered the OCC to review or approve
               the TDHCA’s location decisions; (ii) the TDHCA allocates
               LIHTCs to an affordable housing project before a national bank
               invests in such a project; and (iii) the OCC only regulates one of
               many types of LIHTC investors, which also include financial
               holding companies, bank holding companies, state-chartered
               banks, insurance companies, hedge funds, publicly-traded
               companies, and government-sponsored entities such as “Fannie
               Mae” and “Freddie Mac,” none of which the OCC regulate.

Ds. 6/21/18 Reply Br. 6.

                                               3

       The court concludes that, as to ICP’s claims against OCC, ICP has failed to meet its

summary judgment burden concerning the traceability element of constitutional standing.

In support of the element of traceability, ICP contends that there are 57 national bank-owned

LIHTC units with 9,782 units located in Dallas; that these units are 57% of the total LIHTC

units that were approved for locations in Dallas minority census tracts from 1995 through

2017; and that traceability is shown because “ICP has shown the number of segregated

LIHTC projects and units and that the number is enough to make an appreciable difference.”

Ps. 5/17/18 Br. 42. The court, guided by the Supreme Court’s reasoning in Allen and Simon,

disagrees that ICP’s showing is sufficient to meet its summary judgment burden with respect

to traceability.

       In Allen a group of parents of African American public school children brought a

nationwide class action alleging that the Internal Revenue Service (“IRS”) had not adopted

                                             - 15 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 16 of 59 PageID 7469


sufficient standards and procedures to fulfill its obligation to deny tax-exempt status to

racially discriminatory private schools. Allen, 468 U.S. at 739. For standing purposes, their

claimed injury, was that “the federal tax exemptions to racially discriminatory private schools

in their communities impair their ability to have their public schools desegregated.” Id. at

752-53.9 The Court recognized that the injury the plaintiffs identified—i.e., their children’s

diminished ability to receive an education in a racially integrated school—was undoubtedly

judicially cognizable, but it nonetheless held that the plaintiffs’ claim of injury could not

support standing because the alleged injury was not fairly traceable to the government

conduct the plaintiffs challenged as unlawful. Id. at 757. The Court explained:

              [t]he diminished ability of respondents’ children to receive a
              desegregated education would be fairly traceable to unlawful
              IRS grants of tax exemptions only if there were enough racially
              discriminatory private schools receiving tax exemptions in
              respondents’ communities for withdrawal of those exemptions
              to make an appreciable difference in public school integration.
              Respondents have made no such allegation. It is, first, uncertain
              how many racially discriminatory private schools are in fact
              receiving tax exemptions. Moreover, it is entirely speculative,
              as respondents themselves conceded in the Court of Appeals,
              whether withdrawal of a tax exemption from any particular
              school would lead the school to change its policies.

Id. at 758. The Court concluded that “[t]he links in the chain of causation between the

challenged Government conduct and the asserted injury are far too weak for the chain as a



       9
        The plaintiffs also alleged that they were harmed directly by the mere fact of
government financial aid to discriminatory private schools, but the Court rejected this theory,
holding that plaintiffs “have no standing to complain simply that their Government is
violating the law.” Allen, 468 U.S. at 755.

                                            - 16 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19             Page 17 of 59 PageID 7470


whole to sustain respondents’ standing.” Id. at 759.

       In Simon indigents and organizations composed of indigents brought suit against the

Secretary of the Treasury and the Commissioner of the IRS, alleging that the IRS had

violated the Internal Revenue Code and the Administrative Procedure Act by issuing a

Revenue Ruling that allowed favorable tax treatment to a nonprofit hospital that offered

indigents only emergency room services. Simon, 426 U.S. at 29. The Simon plaintiffs

alleged that the IRS’s Revenue Ruling “had ‘encouraged’ hospitals to deny services to

indigents.” Id. at 42. The Court, however, held that it was speculative “whether the denials

of service specified in the complaint fairly can be traced to [the IRS’s] ‘encouragement’ or

instead result from decisions made by the hospitals without regard to the tax implications.”

Id. at 42-43. As the Allen Court explained in its discussion of Simon, “the causal connection

[in Simon] depended on the decisions hospitals would make in response to withdrawal of

tax-exempt status, and those decisions were sufficiently uncertain to break the chain of

causation between the plaintiffs’ injury and the challenged Government action.” Allen, 468

U.S. at 759.

       The chain of causation in the present case is even weaker than in Allen or Simon. In

this case, the conduct that ICP challenges is OCC’s approval of national bank investments

in LIHTC projects located in racially segregated areas with unequal living conditions. The

line of causation between that conduct and the increased time and resources ICP must expend

to locate non-LIHTC units in non-minority concentrated census tracts for its clients is

attenuated at best, as the court will now explain.

                                            - 17 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 18 of 59 PageID 7471


       “From the perspective of [OCC,] the injury to [ICP] is highly indirect and ‘results

from the independent action of some third party not before the court.’” Allen, 468 U.S. at

757 (quoting Simon, 426 U.S. at 42). ICP concedes in its response brief that “[l]andlords in

White non-Hispanic areas continue to refuse to rent to voucher families rather than accept

the voucher,” and it asserts that “TDHCA continues to implement local veto selection criteria

that disproportionately deny LIHTCs to units in predominantly White census tracts.” P.

5/17/18 Br. 41. ICP does not dispute that the availability of LIHTC projects in non-

segregated areas is dependent on project sponsors’ proposing affordable housing projects in

these areas, local governments’ enacting zoning and land-use policies for the projects,10 and

TDHCA’s selecting the proposed projects for LIHTCs. Nor does ICP dispute that project

sponsors propose affordable housing projects and that TDHCA selects those projects for

LIHTCs before any national banks invest in them.

       ICP fails to adduce any evidence that the lack of available low income housing in non-

segregated areas of Dallas is traceable to OCC’s conduct in approving national bank

investments in LIHTC projects. It contends that the PWI process “is ‘critical to the success’

of the LIHTC program,” and that the “coercive effect of prospective OCC review of such

proposals . . . is reasonably likely to have made an appreciable difference providing racially

integrated LIHTC housing opportunities in Dallas.” Id. at 43; see also Tr. Oral Arg. 13



       10
         Under Texas law, local governments control the zoning, permitting, and other land
use policies and practices that may be needed to build affordable housing projects within
their boundaries.

                                            - 18 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 19 of 59 PageID 7472


(“The traceability issue in this case involves the coercive power of Treasury and OCC to

regulate on the location and neighborhood conditions in which tax credit units are located.”).

But ICP fails to show that OCC has the power to coerce the project sponsors who propose

low income housing projects or the state HCAs charged with allocating LIHTCs. Nor does

it show that if OCC had refused to approve national bank investments in LIHTC projects

located in minority census tracts, LIHTC projects would instead have been located in

Caucasian areas. See, e.g., Simon, 426 U.S. at 42-43 (concluding that petitioners lacked

standing to challenge Revenue Ruling allowing favorable treatment to nonprofit hospitals

that offered only emergency room services to indigents because, inter alia, “[i]t is purely

speculative whether the denials of service specified in the complaint fairly can be traced to

[IRS’s] ‘encouragement’ or instead result from decisions made by the hospitals without

regard to the tax implications.”).

       ICP contends that national banks own 57 units with 9,782 units that are located in

minority census tracts in Dallas and that these units are 57% of the total LIHTC units that

were approved for locations in minority census tracts in Dallas from 1995 through 2017. At

oral argument, ICP’s counsel asserted that bank investments in LIHTC units are “clearly

essential.” Tr. Oral Arg. 15. But the fact that, historically, national banks have invested in

a significant percentage of LIHTC units located in minority census tracts in Dallas does not,

without more, support the reasonable finding that these national bank investments caused the




                                            - 19 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 20 of 59 PageID 7473


LIHTC units to be located there.11 See, e.g., Simon, 426 U.S. at 42 (“The complaint here

alleged only that [IRS], by the adoption of Revenue Ruling 69-545, had ‘encouraged’

hospitals to deny services to indigents. The implicit corollary of this allegation is that a grant

of respondents’ requested relief, resulting in a requirement that all hospitals serve indigents

as a condition to favorable tax treatment, would ‘discourage’ hospitals from denying their

services to respondents. But it does not follow from the allegation and its corollary that the

denial of access to hospital services in fact results from petitioners’ new Ruling, or that a

court-ordered return by petitioners to their previous policy would result in respondents’

receiving the hospital services they desire.” (footnotes omitted)).

       It is equally speculative whether the desired exercise of the court’s remedial powers

in this suit would result in the increased availability of LIHTC projects in non-segregated

areas. See, e.g., id. at 43. ICP produces no evidence that there are an insufficient number

of other (non-national bank) investors—including financial holding companies, bank holding

companies, state-chartered banks, insurance companies, hedge funds, publicly-traded

companies, or government-sponsored entities (none of which is regulated by OCC)—to

support the continued development of LIHTC projects in minority census tracts even if OCC

withdrew its approval of national bank investments there. In other words, it is entirely



       11
        The court does not suggest that it is impossible, given national banks’ investment
in 57% of the total LIHTC units located in minority census tracts, that withdrawal of OCC
approval of these investments would, in fact, force LIHTC projects to relocate to non-
segregated areas. The court’s holding is limited to the conclusion that ICP has failed to
introduce any evidence that would support such a finding.

                                              - 20 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 21 of 59 PageID 7474


speculative whether withdrawal of national bank approval in LIHTC projects located in

segregated areas would lead to the development of LIHTC projects in non-segregated areas.

See Allen, 468 U.S. at 758.

       Accordingly, the court grants defendants’ motion for summary judgment and

dismisses ICP’s claims against OCC without prejudice for lack of constitutional standing.

                                              4

       Turning to the traceability element of standing as pertinent to ICP’s claims against

Treasury, the court concludes that ICP has created a genuine issue of material fact sufficient

to withstand defendants’ summary judgment motion. Unlike OCC, which only has the power

to regulate one type of entity (national banks) that invests in LIHTC projects after they have

already been selected, Treasury can issue regulations that could directly impact the location

of LIHTC projects. Under 26 U.S.C. § 42(h)(3), Treasury administers the allocation of

LIHTCs to Texas every year. Under 26 U.S.C. § 42(n), Treasury has the authority to

“prescribe such regulations as may be necessary or appropriate to carry out the purposes” of

the LIHTC program. See also 26 U.S.C. § 7805(a) (“Except where such authority is

expressly given by this title to any person other than an officer or employee of the Treasury

Department, the Secretary shall prescribe all needful rules and regulations for the

enforcement of this title[.]”).

       ICP maintains in its summary judgment motion that the efforts and expenses it is

forced to incur as a result of the unavailability of LIHTC housing in non-segregated areas are

necessary because Treasury has failed to take specific regulatory actions. ICP cites, as an

                                            - 21 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 22 of 59 PageID 7475


example, evidence that the use of local selection criteria in state QAPs gives local

government officials an effective veto over LIHTC applications, and that this so-called “local

veto” has discriminatory effects with regard to the location of LIHTC projects. See P.

4/12/18 App. 1203-04 (Government Accountability Office (“GAO”) letter noting that

“officials from HUD’s Office of Fair Housing and Equal Opportunity and Office of General

Counsel have cited fair housing concerns in relation to any preferences or requirements for

local approval or support because of the discriminatory influence these factors could have

on where affordable housing is built.”). ICP maintains that a Treasury regulation prohibiting

local selection criteria would exert a coercive effect in preventing or removing such criteria

from state QAPs, which would therefore result in the approval of LIHTCs for low income

housing in areas that are not marked by racial segregation and unequal living conditions.

       Defendants dispute, on the merits, the legality under the statutory scheme of a

regulation prohibiting states from including certain local selection criteria in their QAPs.

The court does not decide today whether Treasury’s regulation of the states’ local selection

criteria is statutorily permissible. Assuming that it is, the court concludes that ICP has

created a fact issue with respect to the traceability element of standing. In Bennett v. Spear,

520 U.S. 154 (1997), the Supreme Court explained that, “[w]hile . . . it does not suffice if the

injury complained of is the result of the independent action of some third party not before the

court, that does not exclude injury produced by determinative or coercive effect upon the

action of someone else.” Id. at 169-70 (internal quotation marks, brackets, and citations

omitted). Because Treasury has the authority to regulate the entities charged with allocating

                                             - 22 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 23 of 59 PageID 7476


LIHTCs, and because there is evidence in the record that local selection criteria have exerted

a discriminatory influence on where affordable housing is built, the court concludes that ICP

has raised a genuine fact issue that its economic injury is fairly traceable to Treasury’s failure

to regulate with respect to the LIHTC program. But because ICP has not established

traceability beyond peradventure, ICP is not entitled to partial summary judgment on the

traceability element of constitutional standing.

                                                D

       Finally, the court turns to the redressability element of standing.

                                                1

       Defendants move for summary judgment on the redressability element of standing,

contending, inter alia, that ICP cannot demonstrate that the relief it seeks is likely to redress

its economic injury; that ICP’s request for an order requiring Treasury to prohibit HCAs from

including their own additional criteria in their QAPs is an impermissible attempt to alter the

statutory scheme through judicial decree; and that even if the court could order the remedy

ICP seeks, ICP could not show that such a remedy would likely increase LIHTC projects in

non-minority areas because ICP would still be dependent on the independent actions and

location decisions of project sponsors, and the TDHCA’s application of existing federal QAP

criteria to the selection of projects for LIHTCs (including, in particular, the selection criteria

in 26 U.S.C. § 42(m)(1)(B)(ii)), would still require TDHCA to give preference to projects

in the very minority areas that ICP disfavors.

       ICP responds that “[t]he injuries are redressable. Courts can effectively remedy an

                                              - 23 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 24 of 59 PageID 7477


agency’s failure to affirmatively further fair housing.” P. 5/17/18 Br. 44. It also argues:

              HFAs generally comply with Treasury’s regulations governing
              their conduct even with Treasury’s minimal oversight. A
              Treasury regulation prohibiting the local veto selection criteria
              would exert such a coercive effect in preventing or removing
              such criteria from HFA QAPs. GAO found that a site selection
              standard discouraging LIHTC investments in low income,
              minority concentrated areas would make more units available
              outside of those areas. The federal government’s Rental Policy
              Working Group recommended affirmatively furthering fair
              housing in the LIHTC program and explained that the third
              parties involved would comply with the standards. The National
              Commission on Fair Housing recommended that Treasury
              affirmatively further fair housing in the LIHTC program
              because it would work to provide more racially integrated
              LIHTC housing.

P. 5/17/18 Br. 43 (citations omitted).

                                                2

       The redressability element is satisfied if it is “likely, as opposed to merely speculative,

that the injury will be redressed by a favorable decision.” Bennett, 520 U.S. at 167. The

court concludes above that there are genuine fact issues as to whether ICP has suffered a

cognizable injury-in-fact and whether that injury is fairly traceable to Treasury’s failure to

issue certain regulations with respect to the LIHTC program. Whether ICP’s injury will be

redressed by the injunctive relief ICP seeks, which includes, inter alia, an order enjoining

Treasury to prohibit the use of non-federal eligibility and selection criteria for LIHTC

allocations in the Dallas area that interfere with tax credit allocation decisions that

affirmatively further fair housing, Am. Compl. ¶ 195(4), is also a genuine issue of fact.

Accordingly, the court denies defendants’ and ICP’s motions for summary judgment on this

                                             - 24 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 25 of 59 PageID 7478


element of standing.

                                               IV

       Having decided that ICP’s claims against Treasury cannot be dismissed at the

summary judgment stage based on lack of constitutional standing, the court now turns to the

merits of those claims.

       The court begins with ICP’s claim that Treasury has violated the requirement in 42

U.S.C. § 3608(d) that all executive departments and agencies “shall administer their

programs and activities relating to housing and urban development . . . in a manner

affirmatively to further the purposes of this subchapter.” Defendants move for summary

judgment, inter alia, on the ground that the Administrative Procedure Act (“APA”), 5 U.S.C.

§§ 701-706, precludes the type of broad, programmatic relief ICP seeks. ICP moves for

partial summary judgment establishing this claim.

                                               A

       It is well-settled that “there is no private right of action against the federal government

for a violation of § 3608(d).” Inclusive Cmtys. Project, Inc. v. U.S. Dep’t of Treasury, 2016

WL 6397643, at *4 (N.D. Tex. Oct. 28, 2016) (Fitzwater, J.) (citing cases). Accordingly,

ICP must pursue its claim that defendants have violated § 3608(d) through the APA, which,

inter alia, permits judicial review of “final agency action for which there is no adequate

remedy in a court.” 5 U.S.C. § 704 (“Agency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a court are subject to judicial

review.”); Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 882 (1990) (“When, as here, review

                                             - 25 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 26 of 59 PageID 7479


is sought not pursuant to specific authorization in the substantive statute, but only under the

general review provisions of the APA, the ‘agency action’ in question must be ‘final agency

action.’”). “Final agency actions are actions which (1) ‘mark the consummation of the

agency’s decisionmaking process,’ and (2) ‘by which rights or obligations have been

determined, or from which legal consequences will flow.’” Sierra Club v. Peterson, 228

F.3d 559, 565 (5th Cir. 2000) (en banc) (quoting Bennett, 520 U.S. at 178). The final action

must be “an identifiable action or event.” Lujan, 497 U.S. at 899. “Absent a specific and

final agency action, [the court] lack[s] jurisdiction to consider a challenge to agency

conduct.” Sierra Club, 228 F.3d at 565 (citing American Airlines, Inc. v. Herman, 176 F.3d

283, 287 (5th Cir. 1999)).

                                              B

       Defendants contend that the APA precludes the programmatic relief that ICP seeks

and that an alleged “failure to administer” or enforce a “program” is unreviewable, regardless

of how often the alleged failure is repeated. Ds. 4/12/18 Br. 30. They maintain that ICP’s

claims are based solely on Treasury’s and OCC’s alleged failures to exercise their statutory

authority with respect to LIHTCs in the manner that ICP prefers; that ICP’s policy preference

for a more active role on the part of Treasury is not actionable under the APA; that ICP

cannot seek “wholesale improvement” of the LIHTC program by judicial decree, id. at 31;

that ICP cannot obtain review of its § 3608(d) claim simply because its amended complaint

identifies particular affordable housing projects that banks have invested in; that ICP does

not seek to overturn any specific approvals of these bank investments or even allege that

                                            - 26 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 27 of 59 PageID 7480


Treasury should have taken a different course of action with respect to the identified projects,

but seeks, instead, to require Treasury to promulgate new regulations and issue new rulings,

guidance, and/or notices, which would require Treasury to fund and develop the expertise

to create an entirely new regulatory program to govern project sponsors’ future decisions

about where to locate affordable housing projects for LIHTCs and to control TDHCA’s

future selection of certain of those proposed projects for LIHTCs; and that ICP cannot obtain

this type of wholesale relief under the APA.

       ICP responds by pointing to the following “three specific Treasury actions challenged

by ICP as actions for which 5 U.S.C. § 706(2) provide[s] for judicial review and a remedy”:

              1) Treasury’s administration of the LIHTC without
              implementing, through regulations or other guidance, Treasury’s
              affirmatively further fair housing obligation; 2) Treasury’s
              decision allowing Texas to continue to use local veto provisions
              in the QAP despite the clear violation of the obligation to
              affirmatively further fair housing upon which the Treasury
              decision is based; and 3) Treasury’s decision refusing to
              implement Treasury’s affirmatively further fair housing
              obligation in the administration of the concerted community
              revitalization plan requirement of the federal restrictions on
              preferences for applications in [qualified census tracts
              (“QCTs”)].

P. 5/17/18 Br. 47. ICP also contends that review under § 706(2) is authorized when the

pattern of activity over time reveals a failure to administer the program in compliance with

the obligation to affirmatively further fair housing; that this is not a broad, programmatic

attack but a challenge focused on defendants’ compliance with a specific statutory provision

(§ 3608(d)); and that defendants have failed to cite any authority in which a court has


                                             - 27 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 28 of 59 PageID 7481


declined to assess federal agency compliance with a 42 U.S.C. § 3608 duty under the APA.

       In reply, defendants contend, inter alia, that the cases on which ICP relies—Shannon

v. United States Department of Housing & Urban Development, 436 F.2d 809 (3d Cir. 1970);

NAACP v. Secretary of Housing & Urban Development, 817 F.2d 149 (1st Cir. 1987)

(hereafter, “NAACP v. Secretary of HUD”); and Darst-Webbe Tenants Association Board

v. St. Louis Housing Authority, 417 F.3d 898 (8th Cir. 2005)—are distinguishable because,

unlike in this case, the plaintiffs in each of those cases were challenging discrete, final

agency actions and were asking the court to set aside those discrete actions. Regarding ICP’s

March 12, 2008 petition for rulemaking, defendants maintain that Treasury did respond to

ICP’s petition; that a failure to respond does not provide a basis for awarding ICP the

programmatic relief it seeks under the APA; and that, in any event, ICP’s challenge to

Treasury’s alleged failure to respond to ICP’s petition is time-barred under 28 U.S.C. §

2401(a).

                                               C

       In Sierra Club the en banc Fifth Circuit held that, where the plaintiffs had failed to

challenge an “identifiable final agency action[,]” the district court did not have jurisdiction

under the APA to review the agency’s conduct. Sierra Club, 228 F.3d at 561. The plaintiffs

in Sierra Club had sued the United States Forest Service (“Forest Service”) in an attempt to

stop the use of even-aged timber management,12 alleging that specific acts of the Forest


       12
         “Even-aged timber management” refers to timber harvesting techniques that involve
cutting all or almost all of the trees in the same stand at the same time. Sierra Club, 228 F.3d

                                             - 28 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 29 of 59 PageID 7482


Service violated the National Forest Management Act of 1976 (“NFMA”) and “challeng[ing]

the Forest Service’s entire program of allowing timber harvesting in the Texas forests.” Id.

at 563. The district court had concluded that “[t]he Forest Service’s failure to implement

timber sales in compliance with the NFMA and regulations, as alleged by Plaintiffs, is a final

agency action for purposes of section 704” of the APA. Id. at 564 (citation omitted). The

Fifth Circuit reversed. It relied heavily on the Supreme Court’s opinion in Lujan, explaining:

              Lujan thus announced a prohibition on programmatic
              challenges: “respondent cannot seek wholesale improvement of
              this program by court decree, rather than in the offices of the
              Department or the halls of Congress, where programmatic
              improvements are normally made.” The decision makes clear
              that this prohibition is motivated by institutional limits on courts
              which constrain our review to narrow and concrete actual
              controversies. We thereby not only avoid encroaching on the
              other branches of government, but we continue to respect the
              expert judgment of agencies specifically created to deal with
              complex and technical issues.

Sierra Club, 228 F.3d at 566 (citations omitted). The en banc court then concluded that the

plaintiffs’ challenge was “precisely the type of programmatic challenge that the Supreme

Court struck down in Lujan.” Id. Plaintiffs were challenging past, ongoing, and future

timber sales approved by the Forest Service, arguing that the Forest Service had failed to

monitor and inventory properly in conducting these sales. The en banc Fifth Circuit

concluded that plaintiffs’ challenge




at 562.

                                             - 29 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19             Page 30 of 59 PageID 7483


              sought “wholesale improvement,” of the Forest Service’s
              “program” of timber management in the Texas forests . . . . This
              is not a justiciable challenge because the program of timber
              management to which the environmental groups object does not
              “mark the ‘consummation’ of the agency’s decisionmaking
              process,” or constitute “an identifiable action or event[.]”
              Instead, as in Lujan, the environmental groups have
              impermissibly attempted to “demand a general judicial review
              of the [Forest Service’s] day-to-day operations.” The district
              court’s accession to this demand, by reviewing and then
              enjoining almost all of the Forest Service’s program of timber
              management in Texas forests until the Forest Service complies
              with the NFMA, exceeded the court’s jurisdiction under the
              APA.

Id. (second alteration in original) (citations omitted); see also, e.g., Am. Disabled for

Attendant Programs Today v. U.S. Dep’t of Hous. & Urban Dev., 170 F.3d 381, 389 (3d Cir.

1999) (hereafter, “ADAPT”) (rejecting “broad-based attack on HUD’s investigative and

enforcement scheme,” and holding that judicial review was barred under § 704 because

plaintiffs did not point to any final agency action demonstrating that HUD had completely

abdicated enforcement of the Fair Housing Act Amendments, in violation of § 3608(e)(5));

Nev. Ass’n of Ctys. v. Dep’t of Interior, 2015 WL 1130982, at *2-4 (D. Nev. Mar. 12, 2015)

(dismissing “programmatic attack” under APA alleging that defendants failed to manage

Nevada’s wild horses and burros in compliance with the Wild Horse Act, noting “[p]laintiffs

essentially ask the Court to compel compliance with the Act and refashion Federal

Defendants’ management of wild horses and burros in Nevada[] [b]ut Plaintiffs ‘cannot seek

wholesale improvement of this program by court decree.’” (citation omitted)), aff’d, 686 Fed.

Appx. 407 (9th Cir. 2017).


                                           - 30 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 31 of 59 PageID 7484


                                              D

       Similar to the plaintiffs in Sierra Club, ICP has failed to point to any specific action

on the part of Treasury that constitutes the type of “final agency action” that § 704 requires.

ICP challenges Treasury’s “administration of the LIHTC” program without implementing

regulations or guidance that would affirmatively further fair housing; Treasury’s “decision”

to allow Texas to continue to use local veto provisions in the QAP; and Treasury’s

“decision” not to implement additional affirmatively further fair housing obligations in

connection with the federal preference for developments that contribute to a concerted

community revitalization plan. Ps. 5/17/18 Br. 47. None of these three “actions,” however,

“mark[s] the consummation” of the agency’s decisionmaking process or constitutes an action

“by which rights or obligations have been determined, or from which legal consequences will

flow.” Bennett, 520 U.S. at 178 (internal quotation marks omitted).

       ICP’s general challenge to Treasury’s “administration of the LIHTC without

implementing, through regulations or other guidance, Treasury’s affirmatively further fair

housing obligation,” P. 5/17/18 Br. 47, is “precisely the type of programmatic challenge that

the Supreme Court struck down in Lujan.” Sierra Club, 228 F.3d at 566. ICP does not point

to any specific LIHTC allocation or approval of a national bank investment that it seeks to

have held unlawful and set aside.13 Instead, it complains about the way that Treasury has


       13
         To the extent ICP has identified specific low income housing projects for which
LIHTCs have been allocated, or in which national bank investment has been approved, ICP
uses these specific projects “as evidence to support [its] sweeping argument” that Treasury’s
administration of the LIHTC project over the past 32 years violates § 3608(d). Sierra Club,

                                            - 31 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 32 of 59 PageID 7485


administered and managed the entire LIHTC program—i.e., by permitting local HCAs to

allocate LIHTCs without requiring that low income housing projects be located in non-

segregated areas.14 But as the Supreme Court explained in Lujan, ICP “cannot seek


228 F.3d at 567 (“the APA does not allow [a plaintiff] to challenge an entire program by
simply identifying specific allegedly-improper final agency actions within that program.”).
ICP does not contend that Treasury took any action with respect to these specific projects
that would constitute “final agency action” under 5 U.S.C. § 704. Nor does it seek to
overturn any specific decision with respect to any of these projects. In any event, Sierra
Club makes clear that “it is at least entirely certain that the flaws in the entire
‘program’—consisting principally of the many individual actions referenced in the
complaint, and presumably actions yet to be taken as well—cannot be laid before the courts
for wholesale correction under the APA, simply because one of them that is ripe for review
adversely affects one of respondent’s members.” Sierra Club, 228 F.3d at 567-68 (quoting
Lujan, 497 U.S. at 892-93).
       14
         ICP’s requested relief further supports the court’s conclusion that ICP has failed to
identify any final agency action that the court can hold unlawful and set aside under 5 U.S.C.
§ 706. ICP asks the court to issue an injunction that, inter alia, enjoins Treasury’s and
OCC’s approval of investments in LIHTC projects by regulated national bank entities if such
investments will make dwelling units available in racially concentrated minority areas
marked by conditions of slum, blight, and distress, unless the development of the units will
contribute to a concerted community revitalization plan and program; enjoins Treasury and
OCC to require that the profits, dividends, and other distributions from tax credit investments
or interest income from debt investments received by banks from their public welfare
investments in LIHTC projects be devoted in part to housing mobility counseling services;
enjoins Treasury to provide guidelines and incentives that will focus on providing national
bank investments in LIHTC units in locations that do not subject low income minority
families to conditions of racial segregation in minority areas marked by slum, blight, and
distress and that expands the supply of LIHTC units outside of those areas; and enjoins
Treasury to prohibit the use of non-federal eligibility and selection criteria for LIHTC
allocations in the Dallas area that interfere with tax credit allocation decisions that
affirmatively further fair housing. Am Compl. ¶ 195. It essentially asks the court to compel
Treasury to rewrite the rules regarding national bank investment in LIHTCs and the
allocation of LIHTCs in the Dallas area. But as the court explains above, ICP is not
permitted to “seek wholesale improvement of this program by court decree, rather than in the
offices of the Department or the halls of Congress, where programmatic improvements are
normally made.” Lujan, 497 U.S. at 891. ICP has not pointed to any specific final agency

                                            - 32 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 33 of 59 PageID 7486


wholesale improvement of [a federal] program by court decree, rather than in the offices of

the Department or the halls of Congress, where programmatic improvements are normally

made.” Lujan, 497 U.S. at 891.

       ICP has also failed to point to any final agency action with respect to Treasury’s

alleged “decision refusing to implement Treasury’s affirmatively further fair housing

obligation in the administration of the concerted community revitalization plan requirement

of the federal restrictions on preferences for applications in QCTs.” P. 5/17/18 Br. 47. In

fact, it is unclear to the court what “decision” ICP is even referring to. In Treasury Notice

2016-77, published in December 2016,15 Treasury specifically stated that it was considering

providing guidance to clarify the preference in § 42(m)(1)(B)(ii)(III) for projects located in

QCTs and the development of which contribute to a concerted community revitalization plan,

and it requested public comment regarding the contents of that guidance. P. 4/12/18 App.

1450. A request for public comment, however, does not in this instance constitute a final

agency decision under § 704 of the APA. And ICP does not point to any other action with

respect to the “concerted community revitalization plan” requirement of 26 U.S.C. §

42(m)(1)(B)(ii)(III) (stating that a QAP is to give preference in allocating housing credit

dollar amounts to “projects which are located in [QCTs] and the development of which




action that this court would be able to hold unlawful and set aside under § 706 of the APA.
       15
         ICP has not pleaded any claim based on Treasury Notice 2016-77, which was issued
after ICP filed its amended complaint. Nonetheless, even if it had been properly pleaded, an
APA claim based on this notice would fail for the reasons explained here.

                                            - 33 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 34 of 59 PageID 7487


contributes to a concerted community revitalization plan.”) that consummates Treasury’s

decisionmaking process, Bennett, 520 U.S. at 178; that determines any rights or obligations,

id.; or that ICP seeks to set aside.

       To the extent ICP challenges Treasury’s “decision’ allowing Texas to continue to use

local veto provisions in the QAP, ICP has likewise failed to identify any final agency action

in which Treasury made any such decision. Assuming arguendo that ICP intended to rely

on Revenue Ruling 2016-29, which was published on December 27, 2016,16 nothing in that

revenue ruling can fairly be read as a final decision “allowing” TDHCA to rely on a local

veto. See Rev. Rul. 2016-29, 2016-52 I.R.B. 875 (2016) (stating that “[w]hen state housing

credit agencies allocate housing credit dollar amounts, § 42(m)(1)(A)(ii) does not require or

encourage these agencies to reject all proposals that do not obtain the approval of the locality

where the project developer proposes to place the project. That is, it neither requires nor

encourages housing credit agencies to honor local vetoes.”). Nor does ICP seek to set aside

this revenue ruling or any other specific agency action relating to Texas’ “local veto.”17



       16
       As with Treasury Notice 2016-77, Revenue Ruling 2016-29 post-dates ICP’s
amended complaint, and ICP has not pleaded any claim based on Revenue Ruling 2016-29.
       17
         In its response, ICP contends that it challenged Treasury’s actions in its March 12,
2008 petition for rulemaking and that the petition remains undecided “despite Treasury’s
legal obligation to decide and give reasons for the decision.” P. 5/17/18 Br. 47. But ICP
does not contend that Treasury’s failure in this respect itself constitutes a violation of §
3608(d). In fact, it limits the “Treasury actions challenged by ICP as actions for which 5
U.S.C. § 706(2) provide[s] for judicial review and a remedy” to the “three specific Treasury
actions” quoted above. Id. Nor has ICP pleaded any cause of action based on Treasury’s
alleged failure to decide ICP’s March 12, 2008 petition for rulemaking.

                                             - 34 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 35 of 59 PageID 7488


                                               E

       ICP contends that judicial review under § 706(2) “is authorized when the pattern of

activity over time reveals a failure to administer the program in compliance [with] the

obligation to affirmatively further fair housing,” P. 5/17/18 Br. 48; see also id. (quoting

NAACP v. Secretary of HUD, 817 F.2d at 158, for the proposition that 5 U.S.C. § 706(2)

permits a “straightforward evaluation of whether agency activity over time has furthered the

statutory goal, and, if not, for an explanation of why not and a determination of whether a

given explanation, in light of the statute is satisfactory.”). This court, however, is not bound

to follow the First Circuit’s decision in NAACP v. Secretary of HUD. Even if it were, there

is “an essential difference between the specific activity reviewed by the court in [NAACP v.

Secretary of HUD] and the all-encompassing review [the court is] asked to undertake here.”

ADAPT, 170 F.3d at 388. In NAACP v. Secretary of HUD the court held that it was able to

review HUD’s actions under the APA, in part, because the “NAACP ask[ed] for review of

a series of decisions to determine whether, taken together, they violate the obligation to

further the goals of Title VIII.” NAACP v. Secretary of HUD, 817 F.2d at 159 (emphasis

added).    The panel was reviewing “various acts and omissions related to HUD’s

administration of its Community Development Block Grant . . . and Urban Development

Action Grant . . . programs in the City of Boston.” Id. at 151. By contrast, in the present

case ICP does not point to any specific decision or series of decisions made by Treasury in




                                             - 35 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 36 of 59 PageID 7489


relation to the LIHTC program that did not further the policies of the FHA.18

                                              F

       In sum, under the APA, the court’s jurisdiction extends only to “challenges to

identifiable final agency actions.” Sierra Club, 228 F.3d at 569. Reaching the merits of

ICP’s programmatic challenge to Treasury’s administration of the LIHTC program would

require the court to “ignor[e] the critical limits on judicial review which define the role of

courts in the modern administrative state.” Id. at 570. Accordingly, because ICP has not

challenged any identifiable final agency action, the court concludes that it lacks jurisdiction

under the APA to decide the merits of ICP’s § 3608(d) claim. The court therefore grants

defendants’ motion for summary judgment on this claim, and it denies ICP’s motion for

partial summary judgment to the extent addressed to this claim.

                                              V

       The court now turns to defendants’ motion for summary judgment on ICP’s

intentional discrimination claims brought under 42 U.S.C. § 3604(a)19 and 42 U.S.C. §


       18
         The other two cases on which ICP relies are similarly distinguishable. In Shannon
the plaintiffs challenged “[a] number of substantive and procedural irregularities . . . in the
steps leading to federal approval of the contract of insurance and the approval of a project
for a rent supplement contract. Shannon, 436 F.2d at 811. In Darst-Webbe the plaintiffs
challenged HUD’s alleged “fail[ure] to adequately consider impact on protected class
members and affirmatively furthering fair housing when it approved the City’s Section 108
loan guarantee and approved the Housing Authority’s Hope VI plan.” Darst-Webbe, 417
F.3d at 906-07.
       19
        42 U.S.C. § 3604(a) makes it unlawful to “refuse to sell or rent after the making of
a bona fide offer, or to refuse to negotiate for the sale or rental of, or otherwise make
unavailable or deny, a dwelling to any person because of race, color, religion, sex, familial

                                            - 36 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 37 of 59 PageID 7490


1982.20

                                              A

                                              1

       Defendants move for summary judgment on ICP’s § 3604(a) claim on the ground that

ICP has not demonstrated that Treasury has made housing “unavailable,” as the statute

requires. Defendants maintain that,

              [b]y congressional design, project sponsors not only propose
              that the TDHCA allocate LIHTCs for the construction or
              rehabilitation of affordable housing projects, but these sponsors
              also commit to rent either 40 or 50 percent of these units to low-
              and moderate-income individuals. 26 U.S.C. § 42(g). And by
              congressional design, it is the TDHCA that has authority to
              allocate LIHTCs to affordable housing projects based on point
              systems reflecting the state’s priorities for the desired type,
              location, and ownership of affordable housing. See id. § 42(m).
              Thus, while project sponsors are obviously engaged in the rental
              of housing, and while it may be reasonable to consider the
              TDHCA to be sufficiently involved in the provision of housing
              and housing-related activities and services to subject it to the
              requirements of § 3604(a) . . . Congress has not prescribed, and
              neither Treasury nor the OCC has assumed, such a role.

Ds. 4/12/18 Br. 49-50. Defendants contend that Treasury’s involvement with LIHTC

projects is limited to issuing such regulations as may be necessary to ensure compliance with

the requirements of § 42 and to the IRS’s administration of the tax credit, including, as may




status, or national origin.”
       20
        42 U.S.C. § 1982 provides that “[a]ll citizens of the United States shall have the
same right, in every State and Territory, as is enjoyed by white citizens thereof to inherit,
purchase, lease, sell, hold, and convey real and personal property.”

                                            - 37 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 38 of 59 PageID 7491


be appropriate, the acceptance, denial, or recapture of the credit, as part of its broader

administration of the Tax Code, and that none of these activities can be considered to have

made housing unavailable, in violation of 42 U.S.C. § 3604(a).

       ICP responds that liability under the FHA is not limited to landlords, sellers, and

creditors; that defendants have made federally assisted housing disproportionately

unavailable in Caucasian areas to a predominantly black group of LIHTC tenants while

Caucasian tenants are not so disadvantaged in their right to rent the LIHTC housing; that this

is a claim that some citizens are being denied the same right to lease property as is enjoyed

by white citizens; and that the FHA “makes governments liable for otherwise making

dwellings unavailable by actions that have the discriminatory intent to perpetuate racial

segregation.” P. 5/17/18 Br. 39.

       In reply, defendants contend, inter alia, that § 3604 does not make Treasury liable for

alleged discriminatory practices by the institutions it supervises and does not make Treasury

liable for discrimination by third parties (such as the affordable housing project sponsors who

ICP claims are allegedly discriminating) because Treasury does not have any regulatory

relationship with those third parties.

                                              2

       Section 3604(a) of the FHA provides that it is unlawful to “make unavailable or deny,

a dwelling to any person because of race, color, religion, sex, familial status, or national

origin.” Courts have broadly interpreted the prohibition in § 3604(a) against making a

residence “unavailable.” For example, § 3604(a) has been applied when government

                                            - 38 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 39 of 59 PageID 7492


agencies have taken actions that prevented the construction of housing when the

circumstances indicated a discriminatory intent or impact against anticipated future residents

who are members of a class protected under the Act. See Vill. of Arlington Heights v. Metro.

Hous. Dev. Corp., 429 U.S. 252 (1977); Dews v. Town of Sunnyvale, 109 F.Supp.2d 526

(N.D. Tex. 2000) (Buchmeyer, C.J.). Courts have also “construed the phrase ‘otherwise

make unavailable or deny’ in subsection (a) to encompass mortgage ‘redlining,’ insurance

redlining, racial steering, exclusionary zoning decisions, and other actions by individuals or

governmental units which directly affect the availability of housing to minorities.” Bloch v.

Frischholz, 587 F.3d 771, 777 (7th Cir. 2009) (quoting Southend Neighborhood Improvement

Ass’n v. Cty. of St. Clair, 743 F.2d 1207, 1209 & n.3 (7th Cir. 1984)). In all of these cases,

however, the defendants have taken some action that “directly affect[s] the availability of

housing to minorities.” Id. ICP does not cite, nor has the court located through its own

research, any case in which liability under § 3604(a) has been premised on the failure of a

federal department or agency to regulate the state and local entities and various third parties

whose conduct together contributes to the unavailability of low-income housing in non-

minority-concentrated areas.

       ICP maintains in its response brief that Treasury has “made federally assisted housing

disproportionately unavailable in White non-Hispanic areas,” P. 5/17/18 Br. 39, but ICP has

failed to point to any conduct on the part of Treasury that has made low-income housing

unavailable to minorities in Dallas. It is undisputed that, under the statutory scheme,

Congress allocates LIHTCs to the states each year based on population, 26 U.S.C. §

                                            - 39 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 40 of 59 PageID 7493


42(h)(3)(C), and that state or local HCAs (such as TDHCA) are given the exclusive authority

to allocate credits to private sponsors seeking to build or rehabilitate affordable housing

projects, based on a system reflecting each state’s priorities for the desired type, location, and

ownership of affordable housing, 26 U.S.C. § 42(m)(1). Thus assuming arguendo that any

entity has made LIHTC housing unavailable in Dallas, it is TDHCA,21 the project sponsors,

or the local government entities, not Treasury. In fact, ICP maintains that TDHCA, in

connection with various local governmental entities, made LIHTC housing unavailable in

non-segregated areas. See P. 4/12/18 App. 897 (“The LIHTC applications in non-minority

concentrated areas for which [an ICP subsidiary] provided support and which were rejected

by TDHCA includes applications rejected because of the requirements for municipal and

state representative support.” (emphasis added)).

       In its amended complaint, ICP alleges that “Treasury’s policy and practice [of]

refusing to regulate the LIHTC program to prevent racial segregation and to accomplish

affirmatively furthering fair housing is the Treasury’s discriminatory housing practice

challenged in this complaint.” Am. Compl. ¶ 188. But Treasury’s theoretical ability to issue

regulations that might have prevented the unavailability of non-segregated low-income



       21
         The court’s inclusion of TDHCA as an actor who may have made LIHTC housing
unavailable in Dallas is not inconsistent with its decisions in Inclusive Communities Project,
Inc., 860 F.Supp.2d at 321 (finding against ICP on its intentional discrimination claim), or
Inclusive Communities. Project, Inc., 2016 WL 4494322, at *13 (finding against ICP on its
disparate impact claim). An entity’s conduct can make affordable housing unavailable
without being the result of the entity’s intent to discriminate, or resulting in a disparate
impact, in violation of the FHA.

                                              - 40 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 41 of 59 PageID 7494


housing in Dallas does not, without more, establish that Treasury is liable under § 3604(a)

for making that housing unavailable in the first place. Because ICP has failed to adduce any

evidence that it was Treasury, as opposed to TDHCA, state and local government entities,

or project sponsors, who made housing in non-segregated areas of Dallas unavailable, the

court grants defendants’ motion for summary judgment on ICP’s § 3604(a) claim against

Treasury.22

                                              B

       Because it is undisputed that Treasury is not engaged in the sale or rental of property,

see Ds. 4/12/18 App. 56 (“ICP admits . . . that Treasury is neither the owner, the landlord,

the manager, the lender, or the investor in individual housing projects involved in the

[LIHTC] program.”), the court also grants defendants’ motion for summary judgment on

ICP’s claim against Treasury under 42 U.S.C. § 1982. Section 1982 “grants to all citizens,

without regard to race or color, ‘the same right’ to purchase and lease property as is enjoyed

by white citizens.” Jones v. Alfred H. Mayer Co., 392 U.S. 409, 420 (1968) (quoting 42

U.S.C. § 1982).

       Defendants contend that Treasury’s involvement with LIHTC projects is limited to

issuing such regulations as may be necessary to ensure compliance with the requirements of



       22
         The court holds above that ICP has created a genuine fact issue on the question
whether, for standing purposes, ICP’s economic injury is fairly traceable to Treasury’s
failure to regulate the allocation of LIHTCs. See supra § III (C)(4). But this holding does
not require the court to similarly conclude that ICP has created a genuine fact issue
concerning the merits of its intentional discrimination claims.

                                            - 41 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 42 of 59 PageID 7495


§ 42 and to the IRS’s administration of credit, as part of its broader administration of the Tax

Code, and that these activities do not constitute the sale or rental of housing sufficient to

subject Treasury to the requirements of 42 U.S.C. § 1982. ICP responds:

               Defendants have made federally assisted housing
               disproportionately unavailable in White non-Hispanic areas to
               a predominantly Black group of LIHTC tenants while White
               tenants are not so disadvantaged in their right to rent the LIHTC
               housing. This is a claim that some citizens are being denied the
               same right to lease property as is enjoyed by White citizens.

P. 5/17/18 Br. 39 (citations omitted).

       The court concludes above that ICP has failed to adduce evidence that would support

the reasonable finding that Treasury, as opposed to TDHCA or some other actor, has made

LIHTC housing unavailable. See supra § V(A)(2). Accordingly, for the same reasons that

the court is granting defendants’ motion for summary judgment on ICP’s § 3604 claim, it

grants defendants’ motion on ICP’s § 1982 claim.

       Alternatively, the court concludes, for the reasons set out below, see infra § VI, that

defendants are entitled to summary judgment on ICP’s intentional discrimination claims

brought under 42 U.S.C. § 3604(a) and 42 U.S.C. § 1982 because ICP has failed to create a

genuine issue of material fact on the question whether Treasury intentionally discriminated

against ICP.




                                             - 42 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19             Page 43 of 59 PageID 7496


                                             VI

       The court turns, finally, to ICP’s claim under 42 U.S.C. § 198323 that Treasury has

violated the equal protection component24 of the Fifth Amendment.

                                             A

       “Proof of racially discriminatory intent or purpose is required to show a violation of

the Equal Protection Clause.” Arlington Heights, 429 U.S. at 265. “[R]acial discrimination

need only be one purpose, and not even a primary purpose,” however, of an official action

for a violation to occur. United States v. Brown, 561 F.3d 420, 433 (5th Cir. 2009) (citation

omitted). “Legislative motivation or intent is a paradigmatic fact question.” Prejean v.

Foster, 227 F.3d 504, 509 (5th Cir. 2000) (citing Hunt v. Cromartie, 526 U.S. 541, 549

(1999)). “Proving the motivation behind official action is often a problematic undertaking.”

Hunter v. Underwood, 471 U.S. 222, 228 (1985).

       In Arlington Heights the Supreme Court set out five nonexhaustive factors to

determine whether a particular decision was made with a discriminatory purpose, and courts

must perform a “sensitive inquiry into such circumstantial and direct evidence of intent as

may be available.” See Arlington Heights, 429 U.S. at 266-68. The so-called Arlington

Heights factors include: “(1) the historical background of the decision, (2) the specific



       23
        Although ICP does not specify that its equal protection claim is brought under 42
U.S.C. § 1983, the court assumes that it is.
       24
        See Inclusive Cmtys. Project, Inc. v. U.S. Dep’t of Treasury, 2015 WL 4629635, at
*5 n.2 (N.D. Tex. Aug. 4, 2015) (Fitzwater, J.).

                                           - 43 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 44 of 59 PageID 7497


sequence of events leading up to the decision, (3) departures from the normal procedural

sequence, (4) substantive departures, and (5) legislative history, especially where there are

contemporary statements by members of the decision-making body.” Overton v. City of

Austin, 871 F.2d 529, 540 (5th Cir. 1989) (citing Arlington Heights, 429 U.S. at 267-68).

“Legislators’ awareness of a disparate impact on a protected group is not enough: the law

must be passed because of that disparate impact.” Veasey v. Abbott, 830 F.3d 216, 231 (5th

Cir. 2016) (en banc) (citing Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979)). The

challengers bear the burden to show that racial discrimination was a “‘substantial’ or

‘motivating’ factor behind enactment of the law”; if they meet that burden, “the burden shifts

to the law’s defenders to demonstrate that the law would have been enacted without this

factor.” Hunter, 471 U.S. at 228 (citation omitted).

                                               B

       Defendants move for summary judgment on ICP’s intentional discrimination claims

arguing, inter alia, that ICP cannot meet its burden of establishing intentional discrimination.

ICP responds that the Arlington Heights factors and other evidence show racial intent as one

cause of Treasury’s refusal to implement affirmatively furthering fair housing in the

administration of the LIHTC program. The court sets out each category of ICP’s evidence

of intentional discrimination below, and assesses whether, considering the totality of the

relevant evidence, ICP has created a genuine issue of material fact on the question whether

an invidious discriminatory purpose was a motivating factor for Treasury’s decision not to

regulate the LIHTC program in the manner ICP advocates.

                                             - 44 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 45 of 59 PageID 7498


                                               C

                                                1

       ICP presents several arguments and supporting evidence that correspond, loosely, with

the first Arlington Heights factor, i.e., the historical background of the decision.25 It contends

that the racial segregation and unequal conditions in the Dallas LIHTC projects are the

functional equivalent of the results of de jure and purposeful segregation in Dallas, except

on a much larger scale. ICP points to evidence that 96% of the 28,874 LIHTC units in Dallas

are located in predominantly minority census neighborhoods and tracts and that the living

conditions in many of those are extreme and unequal;26 that the racial segregation and

indicators of unequal conditions throughout the Dallas seven county Metropolitan Division

(“DMD”) have increased over time and that racial segregation in the DMD exceeds

segregation nationally; that the LIHTC system is a new program and the magnitude of racial

segregation and unequal conditions in the LIHTC program in Dallas and DMD shows a


       25
          The court concludes above that ICP has failed to point to any final agency decision
that it is challenging as unlawful. See supra § IV(D). The court will nevertheless assume
arguendo for purposes of ICP’s equal protection claim that Treasury made a “decision” not
to enact any regulations or take other action in furtherance of its duty to affirmatively further
fair housing.
       26
         ICP also argues that segregation and unequal conditions inflict serious and lasting
injuries on the children subjected to these conditions in most of the LIHTC units in Dallas,
citing, inter alia, the expert report of Professor Ann Owens (“Professor Owens”).
Defendants have filed a motion in limine seeking to exclude Professor Owens’ expert report,
arguing that the report is not relevant or helpful to the trier of fact. Because the court has not
considered Professor Owens’ report in deciding the pending motions, and because the court
is today granting defendants’ motion for summary judgment, the court denies as moot
defendants’ May 17, 2018 motion in limine.

                                              - 45 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 46 of 59 PageID 7499


systemic pattern of racial segregation and unequal conditions that is explicable only on racial

grounds; that the legislative history of the FHA makes clear that the need for the Act was

caused by the refusal of federal agencies to enforce civil rights provisions; that even though

the FHA was enacted 50 years ago, Treasury did not mention the obligation to affirmatively

further fair housing until 2016, when it published Revenue Ruling 2016-29 regarding the use

of local veto selection criteria in state QAPs; that Treasury has never applied the obligation

to affirmatively further fair housing in its administration or regulation of the LIHTC

program; that Treasury refused to comply with its civil rights obligations until 2016 when

it enacted the Title VI regulation, admitting that the LIHTC program could be subject to

those civil rights protections; that for 32 years, Treasury has refused to adopt an

institutionalized method to consider the racial and economic information needed to prevent

the perpetuation of racial segregation; that while refusing to administer the LIHTC program

in compliance with the clear congressional mandate of 42 U.S.C. § 3608(d), Treasury also

delayed implementation of two other congressional mandates (i.e., the legal obligation to

prevent discrimination against voucher tenants and the legal obligation to require compliance

with the habitability standards for LIHTC units and projects); and that Treasury’s adherence

to its refusal to affirmatively further fair housing despite the foreseeability of the racial

segregation and consequent injuries that have resulted supports the inference of intent.

       Defendants maintain in reply that, to the extent ICP intends to rely on evidence of

disparate impact in order to support is intentional discrimination claims, ICP has failed to

present admissible evidence that makes out a prima facie case for disparate impact, that

                                            - 46 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 47 of 59 PageID 7500


shows that one or more of defendants’ policies are the cause of such disparate impact, or that

shows that defendants pursued those policies because of that disparate impact. They also

contend that ICP’s assertion that Treasury’s alleged failure to take sufficient action

demonstrates an invidious purpose does not withstand scrutiny because ICP fails to point to

any authority to support its claims that such inaction evinces intentional discrimination under

the Arlington Heights factors, and, in any event, ICP has completely ignored the actions that

Treasury has taken since the enactment of the FHA to combat racial discrimination.

                                              2

       In detailing the “historical background” of Treasury’s conduct with respect to the

FHA, generally, and the LIHTC program, specifically, ICP appears to suggest that Treasury’s

awareness (or the fact that Treasury should have been aware) of the cumulative effects of its

failure to prevent LIHTC affordable housing projects from being disproportionately located

in certain predominantly minority neighborhoods supports a finding of intentional

discrimination. For example, ICP cites evidence that 96% of the LIHTC units in Dallas are

located in minority census tracts; that the living conditions in those neighborhoods are

unequal; and that there has been an increase in racial segregation in the DMD over time,27


       27
         ICP is correct that this court’s dismissal of its disparate impact claim does not
preclude ICP from relying on disparate impact evidence to show intentional discrimination.
To support a claim of intentional discrimination, however, ICP’s evidence must show that
Treasury acted because of the alleged disparate impact. See Veasey, 830 F.3d at 231. ICP
has not come forward with any evidence that Treasury knew about the racial segregation or
unequal living conditions in the LIHTC program in Dallas, see P. 5/17/18 Br. 20 (stating that
“Treasury does not collect the information to show the racial composition of the LIHTC
locations,” but noting that Treasury has “access to both HUD LIHTC reports and data

                                            - 47 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 48 of 59 PageID 7501


arguing that the magnitude of racial segregation and unequal conditions in the LIHTC

program in Dallas “shows a systemic pattern of racial segregation and unequal conditions

that is explicable only on racial grounds.” P. 5/17/18 Br. 20 (citing Dowdell v. City of

Apopka, Fla., 698 F.2d 1181, 1196 (11th Cir. 1983)).28

       ICP’s evidence, however, does not “reveal[] a series of official actions taken for

invidious purposes.” Arlington Heights, 429 U.S. at 267. Nor does it support the reasonable

finding that Treasury intentionally discriminated in its administration of the LIHTC program.

Neither “volition” nor “awareness of consequences” is sufficient to support a finding of

discriminatory purpose. Pers. Adm’r of Mass., 442 U.S. at 279 (“‘Discriminatory purpose,’

however, implies more than intent as volition or intent as awareness of consequences.”).

Rather, discriminatory purpose requires that the decisionmaker, in this case Treasury,29

“selected or reaffirmed a particular course of action at least in part ‘because of,’ not merely

‘in spite of,’ its adverse effects upon an identifiable group.” Id. (citation omitted). ICP has



showing neighborhood conditions”), or that Treasury took any action (or failed to take
action) because of the alleged disparity. See Veasey, 830 F.3d at 231.
       28
        Dowdell is easily distinguishable. In that case the city was accused of intentionally
discriminating in the provision of municipal services. Dowdell, 698 F.2d at 1184. The court
of appeals affirmed the district court’s finding of intent, noting, inter alia, evidence of a
“systematic pattern of municipal expenditures in all areas of town except the black
community.” Id. at 1186.
       29
        At oral argument, ICP conceded that it did not have evidence that any single
decisionmaker acted with a discriminatory purpose. Instead, it argued that “[w]e have a
systematic administration-to-administration continuation of the same policy and the same
decision, not to take effective action to affirmatively further fair housing in the location and
the conditions.” Tr. Oral Arg. 20.

                                             - 48 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 49 of 59 PageID 7502


not identified any evidence in the historical background of the LIHTC program that would

substantiate a claim that Treasury “selected or reaffirmed” a course of action “because of”

its adverse effects on the race of ICP’s clients.30

                                               3

       ICP maintains that, despite passage of the FHA 50 years ago, “Treasury did not

mention the obligation to affirmatively further fair housing until 2016 when it published the

Revenue Ruling on the use of local veto selection criteria in LIHTC QAPs.” P. 5/17/18 Br.

21. It also contends that “Treasury has never applied the obligation to affirmatively further

fair housing in its administration or regulation of the LIHTC program,” id. at 22; that

Treasury refused to comply with its obligations under Title VI of the 1964 Civil Rights Act

until it passed its Title VI regulation in 2016, “admit[ting] that the LIHTC program could be

subject to those civil rights protections,” id.; and that Treasury also delayed in implementing

the statute requiring owners not to discriminate against voucher tenants until eight years after

the statute passed, and in implementing the congressional mandate requiring habitability

standards for LIHTC units and projects. Evidence that Treasury failed to take a certain



       30
         Nor can ICP show that Treasury “created a system of racially segregated housing.”
P. 5/17/18 Br. 20 (emphasis added). As the court explains above, see supra § V(A)(2), the
location of LIHTC units in Dallas is the product of the decisions of various private and
government actors, including individual project sponsors, state and local government entities,
and TDHCA, which has the ultimate authority to allocate LIHTC credits. Accordingly,
because Treasury is not the entity responsible for allocating LIHTCs and there is no evidence
that Treasury either knew or intended the LIHTC program in Dallas to be racially segregated,
there is no basis from which to find that Treasury “created” a system of racially segregated
housing.

                                             - 49 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                   Page 50 of 59 PageID 7503


course of action (or delayed in taking action), however, does not, without more, enable a

reasonable trier of fact to find that it acted or failed to act for an invidious purpose. See, e.g.,

Lee v. City of L.A., 250 F.3d 668, 687 (9th Cir. 2001) (“With respect to the discriminatory

purpose element of their equal protection claim, plaintiffs plead only that defendants

knowingly or with deliberate indifference to the rights of the mentally disabled adopted

facially neutral policies of inaction that have had a discriminatory impact on disabled

persons. Plaintiffs failed to allege that defendants’ acts or omissions were motivated by

discriminatory animus toward the mentally disabled as a protected class.”); Grimes By &

Through Grimes v. Sobol, 832 F. Supp. 704, 708 (S.D.N.Y. 1993) (“conscious failure to

adopt a curriculum that includes more material regarding African Americans . . . [is]

inadequate to sustain [an] inference [of intentional discrimination].”), aff’d, 37 F.3d 857 (2d

Cir. 1994).

       Treasury’s failure to regulate the LIHTC program in the way that ICP desires,31 and


       31
           ICP’s statement that “Treasury has never applied the obligation to affirmatively
further fair housing in its administration or regulation of the LIHTC program,” is inaccurate.
P. 5/17/18 Br. 22 (emphasis added). Although Treasury has not issued any regulation
regarding the location of LIHTC projects, it has taken several steps that, viewed objectively,
affirmatively further fair housing. For example, in 1994 Treasury issued a regulation stating
that, if a residential unit in a building is not for use by the general public, it is not eligible for
a LIHTC, and that “[a] residential rental unit is for use by the general public if the unit is
rented in a manner consistent with housing policy governing non-discrimination, as
evidenced by rules or regulations of [HUD].” 26 C.F.R. § 1.42-9. Additionally, Treasury,
HUD, and the U.S. Department of Justice (“DOJ”) entered into a Memorandum of
Understanding (“MOU”) to provide a mechanism for HUD and DOJ to report fair-housing
findings to the IRS. “The MOU clarifies the agencies’ respective roles in investigating and
enforcing fair housing laws and provides that the IRS, after receipt of such findings from
HUD or DOJ, may, when appropriate, deny a taxpayer’s current claimed LIHTCs and/or

                                               - 50 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 51 of 59 PageID 7504


its delay in implementing certain sections of the LIHTC statute are explicable based on any

number of reasons.32 ICP does not point to any evidence that would support the reasonable

finding that Treasury failed to act, or delayed in acting, because it intended to discriminate

on the basis of race.

                                                4

       Finally, even if it was “foreseeab[le],” as ICP argues, that racial segregation would

result from Treasury’s “refusal to affirmatively further fair housing,” Ps. 5/17/18 Br. 30, the

alleged foreseeability of ICP’s injury, alone, is insufficient to support its claim of intentional

discrimination. See Lee, 250 F.3d at 687 (“The mere fact that defendants’ facially neutral

policies had a foreseeably disproportionate impact on an identifiable group does not mean

that they violated the Equal Protection Clause.”); Lora v. Bd. of Educ., 623 F.2d 248, 250 (2d

Cir.1980) (“Dayton Board of Education v. Brinkman, 443 U.S. 526 (1979) and Columbus




recapture previously claimed LIHTCs.” Ds. 4/12/18 Br. 37. Also, Treasury issued Revenue
2016-29, which clarifies that the current statutory requirement for HCAs to provide local
jurisdictions with a “reasonable opportunity” to comment on a proposed LIHTC project is
not the same as requiring the jurisdiction’s approval. See Rev. Rul. 2016-29, 2016-52 I.R.Bl
875. ICP disputes the effectiveness of these measures, and argues that they “do[] not address
the perpetuation of racial segregation and unequal living conditions caused by the allocation
selection procedure set out in state QAPs.” P. 5/17/18 Br. 7. But even if Treasury’s actions
with respect to the LIHTC program have not produced the effect ICP desires, the fact
remains that Treasury has, in fact, taken some action that affirmatively furthers fair housing,
or, at least, that does not affirmatively disfavor fair housing.
       32
         For example, it is entirely plausible that Treasury has not issued any regulations with
respect to the location of LIHTC projects because it has interpreted the statute as delegating
exclusive responsibility for allocating LIHTCs to state HCAs such as TDHCA. See Ds
4/12/18 Br. 6.

                                              - 51 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                 Page 52 of 59 PageID 7505


Board of Education v. Penick, 443 U.S. 449 (1979) . . . held that ‘foreseeable result’ is one

type of quite relevant evidence of racially discriminatory purpose but, standing alone is not

sufficient to establish the requisite discriminatory intent on the part of the Board.”); id. at 251

(“It is the function of the District Judge to make findings from objective evidence of the

presence or absence of discriminatory purpose; inferences from evidence of discriminatory

impact will not substitute sufficiently for a finding of actual motivation in concluding that

constitutional violation has occurred. . . . Foreseeability per se is insufficient since

foreseeability may be helpless and unintentional.”); Cf. Penick , 443 U.S. at 452-53, 464-65

(noting that district court correctly recognized that “disparate impact and foreseeable

consequences, without more, do not establish a constitutional violation,” but affirming

conclusion that school board intentionally discriminated where evidence demonstrated that

school board “never actively set out to dismantle [intentionally segregated] system,” but,

instead, had recently approved optional attendance zones, discontiguous attendance areas,

and boundary changes that “maintained and enhanced racial imbalance in the Columbus

public schools.”)

                                                D

       ICP next contends that the specific sequence of events leading up to Treasury’s refusal

to prohibit the use of local veto selection criteria in QAPs shows a willingness to condone

the perpetuation of racial segregation. ICP maintains that, in 2016, GAO found that the use

of local selection criteria was common in many of the state QAPs and stated that HUD’s fair

housing concerns about the use of local selection criteria had been directly communicated

                                              - 52 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 53 of 59 PageID 7506


to Treasury with the direction to eliminate the local approval requirements from QAPs as a

top priority, but that Treasury’s 2016 Revenue Ruling failed to eliminate these local approval

or support requirements, instead stating that the Tax Code does not require or encourage such

provisions. ICP also posits that Treasury’s refusal to respond to ICP’s 2008 petition for

rulemaking, which requested that Treasury provide reasons for its refusal to issue

affirmatively furthering fair housing regulations, is a specific sequence of events that casts

doubt on the credibility of its reasons for the refusal claimed in this lawsuit.

       Defendants reply that Treasury’s failure to meet its obligations under § 3608 cannot

in and of itself demonstrate an invidious purpose; that Treasury did respond to ICP’s 2008

petition for rulemaking; that ICP complains that the 2016 notice did not go as far as ICP

would have liked, but that it never shows how declining to enact ICP’s preferred policy

constitutes a departure from Treasury’s normal sequence of events; and that in the absence

of any actual evidence of an invidious purpose, the court should not rely on ICP’s speculation

about Treasury’s motives.

       The court holds, largely for the reasons explained in defendants’ reply brief, that ICP

has not shown any specific sequence of events that would support a finding of intentional

discrimination. In its brief, ICP argues:

              [t]he sequence starts with Treasury receiving notice of a likely
              violation of the Fair Housing Act in a widely used QAP
              selection criteria and HUD’s position that elimination of the
              criteria causing the discriminatory effect was a top priority. The
              sequence ends with Treasury’s statement that does not eliminate
              the criteria from QAPs but points out that the criteria is not
              required by the LIHTC statute. By not enacting a regulation to

                                            - 53 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19                Page 54 of 59 PageID 7507


               eliminate the use of local veto selection criteria, Treasury
               directly and explicitly accepted and condoned the use of
               selection criteria that HUD had found discriminatory. This
               supports the finding of intent by showing Treasury’s refusal to
               use its civil rights authority to end a discriminatory practice, an
               action consistent with discriminatory intent.

P. 5/17/18 Br. 25-26. ICP has adduced no evidence, however, that would permit a

reasonable trier of fact to find that Treasury’s failure to issue a regulation eliminating the use

of local veto selection criteria can be attributed to an invidious purpose.

       Moreover, Treasury neither “accepts” nor “condones” the use of selection criteria in

Revenue Ruling 2016-29. In fact, Treasury’s position, if anything, tends to support ICP’s

position by stating that the Code does not require or encourage local veto criteria and that an

allocating agency is not authorized to abandon the responsibility to exercise its own

judgment:

               The Code requires that each local jurisdiction have a
               “reasonable opportunity” to comment on any proposal to
               allocate a housing credit dollar amount to a project within that
               jurisdiction. This requirement is not the same as requiring the
               jurisdiction’s approval. The clear meaning of “reasonable
               opportunity to comment” is that the jurisdiction has a chance to
               weigh in, or even object, but not that every objection will be
               honored.

               Thus, § 42(m)(1)(A)(ii) ensures only the opportunity for local
               input to the allocation decision. It does not authorize an
               allocating agency to abandon the responsibility to exercise its
               own judgment. In particular, it does not require or encourage
               allocating agencies to bestow veto power over LIHTC projects
               either on local communities or on local public officials.

Rev. Rul. 2016-29, 2016-52 I.R.B. 875. ICP’s belief that Revenue Ruling 2016-29 does not


                                              - 54 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 55 of 59 PageID 7508


go far enough to eliminate segregation in the location of LIHTC housing does not show a

specific sequence of events supporting the conclusion that Treasury engaged in intentional

discrimination.

                                              E

       ICP advances several other arguments in support of its contention that Treasury has

acted with a discriminatory purpose. It contends that Treasury input only 3,100 of 168,000

noncompliance forms between 2009 and 2015, and that refusing to look at noncompliance

reports is not a credible defense for a government charged with perpetuation of racial

segregation; that under the statute, an HFA cannot prefer locations in QCTs unless there is

an added benefit to the neighborhood in the form of the project’s contribution to a concerted

community revitalization plan, and that Treasury knows that state HFAs violate this QAP

provision yet, despite this knowledge, Treasury does not monitor HFAs’ compliance with

this or other QAP requirements; that Treasury’s tolerance for placing LIHTC projects in

locations that exacerbate poverty concentrations without revitalization is a characteristic of

deliberate racial segregation and supports a finding of intent; that Treasury is subject to a

national nondiscrimination policy and legal duty to overcome historic patterns of racial

segregation in housing, yet it has exempted state HFAs from compliance with the federal

policy against racial segregation in housing; and that Treasury has refused to require any

actions that address unequal neighborhood living conditions, permitting QCT preferences to

be given to LIHTC projects in Dallas without any revitalization plan despite Treasury’s

recognition that placing LIHTC projects in QCTs risks exacerbation of concentrations of

                                            - 55 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 56 of 59 PageID 7509


poverty.

       To the extent ICP is attempting to establish intentional discrimination through

evidence that Treasury has failed to issue regulations requiring compliance with the

requirement in 26 U.S.C. § 42 (m)(1)(B)(ii)(III) (stating that a QAP must give preference to

“projects which are located in [QCTs] and the development of which contributes to a

concerted community revitalization plan”), or through evidence that Treasury has

inadequately monitored state HCAs to ensure compliance with the LIHTC statute, this

evidence does not create a genuine fact issue on the question whether any failure to act on

the part of Treasury was motivated by an intent to discriminate on the basis of race.

                                              F

       Courts in this circuit, including this court, routinely grant summary judgment on

claims of intentional discrimination claims where the plaintiff fails to produce evidence

showing that the defendant acted with a racially discriminatory intent or purpose. See, e.g.,

Gonzalez v. City Plan Com’n, 2007 WL 1836872, at *5 (N.D. Tex. June 26, 2007) (Lynn,

J.) (“In short, there is simply no evidence that Defendants’ actions—selling two narrow strips

of land to the abutting landowner and approving the replatting of that landowner’s property

consistently with state and local law, with one minor and rationally-explained

exception—were tainted by discriminatory purpose against Plaintiffs. Summary Judgment

is accordingly granted against Plaintiffs’ claim of discrimination in violation of the Equal

Protection Clause.”); Arbor Bend Villas Hous., L.P. v. Tarrant Cty. Hous. Fin. Corp., 2005

WL 548104, at *11 (N.D. Tex. Mar. 9, 2005) (Means, J.) (granting summary judgment on

                                            - 56 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19              Page 57 of 59 PageID 7510


plaintiff’s equal protection claim because plaintiff failed to raise genuine issue of material

fact on the question of discriminatory intent); GI Forum v. Texas Educ., 1999 WL 33290624,

at *5 (W.D. Tex. July 27, 1999) (“After careful consideration of all of the Arlington Heights

factors, the Court finds that the summary judgment evidence does not raise a material fact

question on the issue of intentional discrimination. Instead, the summary judgment evidence

establishes, beyond dispute, that the TAAS test has an adverse impact on minority students

in the state. There is no basis for inferring that the impact was the result of intentional

discrimination. Therefore, summary judgment must be granted in favor of the Defendants

on the Plaintiffs’ equal protection claim.”). ICP’s evidence at most permits the reasonable

finding that Treasury was or should have been aware of the situation involving LIHTC

housing in Dallas and failed to take action to remedy this segregation. But as courts have

stated, “Legislators’ awareness of a disparate impact on a protected group is not enough: the

law must be passed because of that disparate impact.” Veasey, 830 F.3d at 231 (citing Pers.

Adm’r of Mass, 442 U.S. at 279). ICP has failed to come forward with any evidence that

would support the reasonable finding that Treasury took any action (or failed to act) because

of the racial segregation in LIHTC units in the city of Dallas. In other words, ICP has failed

to create a genuine issue of material fact on the question whether Treasury intentionally

discriminated based on race.

       Indeed, the court questions an approach that, like ICP’s, treats Treasury

monolithically, without distinguishing among the administrations whose conduct may be at

issue (including Presidents Clinton, Bush, Obama, and Trump). See Tr. Oral Arg. 18 (ICP

                                            - 57 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19               Page 58 of 59 PageID 7511


counsel, in response to question from the court, maintaining that intentional discrimination

went on during prior administrations). It seems quite doubtful that, in the modern era of our

republic, four consecutive administrations, representing different political parties, different

political philosophies, different policy priorities, and different approaches to governing,

would all engage in the same or substantially similar form of intentional race discrimination.

That ICP seems to be alleging this gives greater force to the conclusion that a reasonable trier

of fact could not find in its favor.

       Accordingly, the court grants defendants’ motion for summary judgment on ICP’s

Fifth Amendment equal protection claim brought against Treasury.33

                                          *    *       *

       For the reasons explained, the court grants defendants’ motion for summary judgment

based on a lack of constitutional standing as to ICP’s claims against OCC and grants

defendants’ motion for summary judgment on the merits as to ICP’s claims against Treasury.




       33
        Because the court is granting defendants’ motion for summary judgment on this
ground, it does not address their contention that the doctrine of judicial estoppel precludes
ICP from pursuing its intentional discrimination claims against Treasury and OCC.

                                              - 58 -
 Case 3:14-cv-03013-D Document 87 Filed 02/06/19          Page 59 of 59 PageID 7512


The court denies ICP’s motion for partial summary judgment. The court enters final

judgment in favor of defendants by separate judgment filed today.

      SO ORDERED.

      February 6, 2019.



                                        _________________________________
                                        SIDNEY A. FITZWATER
                                        SENIOR JUDGE




                                         - 59 -
